               Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 1 of 21



                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS


    KRISTINA TOT, as Administratrix of           ) Case No.:
    the Estate of STJEPAN TOT and                )
    RANDY STERN, as Executor of the              ) CLASS ACTION COMPLAINT
    Estate of ANNETTE MONACHELLI,                )
    on behalf of themselves and all others       ) JURY TRIAL DEMANDED
    similarly situated,                          )
                          Plaintiffs,            )
                                                 )
           v.                                    )
                                                 )
    eCLINICAL WORKS, LLC, a                      )
    Delaware Limited Liability Company,          )
                                                 )
                           Defendant.            )
                                                 )


          Plaintiffs KRISTINA TOT and RANDY STERN, by and through their attorneys,

complain against the defendant and allege the following:

                                           INTRODUCTION

          1.      Plaintiffs bring this class action against defendant eClinicalWorks, LLC (“ECW”),

a leading cloud-based Electronic Health Records (“EHR”) vendor in the U.S. used by hospitals,

doctors, health groups and other healthcare and medical providers (collectively, “healthcare

providers”). Through the actions described below, ECW failed to provide, secure and safeguard

the healthcare records of the patients of those healthcare providers, in violation of its duty to

those patients.

          2.       The accuracy and reliability of those records are central to the health and well-

being of every such patient. Every healthcare patient rightfully expects that the integrity of their

healthcare records be maintained, i.e., that they are accurate, and further, that their audit logs

ensure that any changes or modifications to those records are accurately captured. ECW has

                                                     1
 
                Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 2 of 21



violated its duty to those patients by marketing and selling software used by those patients’

healthcare providers that failed to maintain the accuracy and integrity of patients’ EHRs.

           3.       ECW misrepresented to the federal government that its software protected the

accuracy and integrity of patients’ records when it did not (the subject of a qui tam proceeding

that the federal government concluded against ECW last year), falsely obtaining certification

from the federal government for its software and allowing it to market and sell it to healthcare

providers. As a result, the medical records of millions of patients have been compromised.

Patients cannot rely on those records, to their harm.

           4.      Pursuant to the Health Information Technology for Economic and Clinical Health

Act (“HITECH Act”), the U.S. Department of Health and Human Services (“HHS”) established

the Medicare and Medicaid Electronic Medical Records Incentive Programs (also known as the

“Meaningful Use Program”). The Meaningful Use Program provides incentive payments to

healthcare providers who demonstrate “meaningful use” of certified EHR technology. The

federal government’s actions express a strong public policy in favor of the use of robust EHR

technology by healthcare providers.

           5.       In marketing and selling its EHR software to healthcare providers throughout the

    United States, ECW falsely represented to healthcare providers, its certifying bodies and the

    federal government that its software complied with the requirements for certification.

           6.      ECW’s software was unable to satisfy certain certification criteria relating to the

    accuracy and reliability of patient records. To ensure that its software was certified, ECW: (a)

    falsely attested to its certifying body that it met those certification criteria; (b) manipulated its

    software to pass certification testing without meeting the certification criteria; (c) caused its

    users to falsely attest to using a certified EHR technology, knowing that ECW’s software failed


                                                      2
 
               Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 3 of 21



    to comply with the applicable certification criteria; and (d) caused its users to report inaccurate

    information regarding Meaningful Use objectives and measures in attestations to the Centers for

    Medicare & Medicaid Services (“CMS”).

          7.      Since 2011, healthcare providers using ECW’s software attested to satisfying the

Meaningful Use objectives and measures and thus received incentive payments through the

Meaningful Use program. As the federal government later determined, ECW’s software should

not have been certified as compliant under the Meaningful Use program. Had it not been

certified, ECW’s would not have achieved its level of use among healthcare providers and would

not have impacted so many patients’ records.

          8.      As a result of ECW’s failure to meet the certification criteria, ECW’s software:

                   A.     Periodically displayed incorrect medical information in the right chart

                          panel of the patient screen;

                   B.     Periodically displayed multiple patients’ information concurrently;

                   C.     In specific workflows, failed to accurately display medical history on

                          progress notes; and

                   D.     Failed to accurately record user actions via audit logs, and in certain cases,

                          misled users as to events conducted during a patient’s treatment.

          9.      As a result of these deficiencies, millions of patients nationwide have had their

healthcare records compromised. For example, as to the Progress Notes recorded by a healthcare

professional at a patient’s visit, neither the patient nor the healthcare provider can be certain as to

which date any number of the patient’s symptoms first appeared. By way of further example,

upon information and belief the software does not accurately record user actions in an audit log.

          10.      Upon information and belief, ECW coded its software to not accurately record


                                                     3
 
          Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 4 of 21



user actions. ECW either intentionally, or by way of gross negligence, egregious conduct or

wanton recklessness or carelessness, coded their EHR software in a manner that compromised

the integrity and reliability of patients’ EHRs.

                                          THE PARTIES

        11.      Kristina Tot is the Administratrix of the Estate of Stjepan Tot. At the time of his

death, Stjepan Tot was a citizen of the State of New York. Randy Stern is the Administrator of

the Estate of Annette Monachelli. Both Randy Stern and the Estate of Annette Monachelli are

citizens of the State of Vermont.

        12.    ECW is a privately held software company founded in 1999, incorporated in the

State of Delaware and headquartered in the State of Massachusetts. According to its website,

ECW’s medical records software is used by 130,000 physicians nationwide.

                                 JURISDICTION AND VENUE

        13.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A) because the amount in controversy exceeds $5,000,000.00 and because ECW is a

citizen of the State of Massachusetts, while Plaintiffs are citizens of other States.

        14.     The Court has personal jurisdiction over ECW and venue is appropriate in this

Court under 28 U.S.C. § 1391(b)(1) & (b)(2) because ECW’s headquarters are located within

this District and a substantial part of the events giving rise to the claims alleged herein occurred

within this District.

                          LEGAL AND FACTUAL BACKGROUND

        A.      Certified EHR Technology and the Meaningful Use Program

        15.     On Feb. 17, 2009, the HITECH Act was enacted to promote the adoption and

meaningful use of certified EHR technology. Under the HITECH Act, the HHS Office of the


                                                   4
 
          Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 5 of 21



National Coordinator for Health Information Technology (“ONC”) established a certification

program for EHR technology. As part of the certification program, EHR vendors attest to ONC

authorized certification bodies (“ACB”) and accredited testing laboratories that their software

meets the certification requirements established by ONC. The certification bodies and testing

laboratories test and certify that vendors’ EHRs are compliant with the certification

requirements.

        16.     Through the Meaningful Use program CMS makes incentive payments to

healthcare providers for demonstrating meaningful use of certified EHR technology. To qualify

for incentive payments in each stage of the Meaningful Use program, healthcare providers were

required to attest each year that they used certified EHR technology and satisfied the applicable

Meaningful Use objectives and measures. Use of certified EHR technology and satisfaction of

applicable Meaningful Use objectives and measures are material to payment under the

Meaningful Use program.

        17.     To obtain certification, EHR vendors (like ECW) must attest that their EHR

product satisfies the applicable certification criteria, submit to certification testing by an

accredited testing laboratory, and pass such testing.

        18.     Certification testing is based on the certification criteria the vendor (i.e., ECW)

represents its software satisfies and on which it requests to be tested and certified. The

certification body uses standardized testing protocols (“test scripts”) identifying each step the

vendor will be required to take during testing. The test scripts are available to vendors in

advance of their testing date.

        19.     After obtaining certification, an EHR vendor like ECW must maintain that

certification by complying with all applicable conditions and requirements of the certification


                                                   5
 
          Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 6 of 21



program. Among other things, the EHR product must be able to accurately, reliably, and safely

perform its certified capabilities while in use by healthcare providers. EHR vendors must

cooperate with the processes established by ONC for testing, certifying, and conducting ongoing

surveillance and review of certified EHR technology.

        20.      The CMS rules governing the Meaningful Use program recognize that healthcare

providers rely on certification for assurance that an EHR product meets the applicable

certification criteria, including that it possesses the certified capabilities that healthcare providers

will need to use to achieve relevant objectives and measures, and that the software will perform

in accordance with applicable certified capabilities. The rules and regulations promulgated by

HHS and its ONC under the HITECH Act express a strong public policy encouraging the

development and deployment of software meeting specifications designed to protect the accuracy

and integrity of patient EHRs.

        B.      ECW Failed to Satisfy the Certification Criteria and Made False
                Statements in Obtaining Certification and Marketing its Software

        21.     ECW submitted an attestation form dated April 17, 2013 representing that its

software satisfied the certification criteria applicable to complete EHRs and could perform those

criteria and standards in the field.

        22.     ECW’s attestation to its certification body was false. ECW’s software did not

satisfy the certification criteria for a complete EHR and could not operate in the field in

compliance with the requisite certification criteria. Because its EHR technology did not meet

ONC’s certification criteria, its technology also failed to satisfy the requirements for Meaningful

Use incentive payments, for which the use of certified EHR technology is a prerequisite.

        23.     Certification testing does not confirm that each criteria and standard is satisfied

in full and under every conceivable scenario. Testing takes a snapshot of a product’s capabilities

                                                   6
 
          Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 7 of 21



by ensuring it can pass certain pre-disclosed test cases.

        24.      Because of the limited testing regimen, ECW passed certification testing without

fully implementing all the technological changes required. ECW did not seek to ensure that the

standards, implementation specifications, and criteria were truly met.

        25.       ECW similarly failed to adequately review its bugs or service tickets to analyze

whether software issues impacted the software’s ability to meet the standards, implementation

specifications, and certification criteria and perform in a reliable manner consistent with its

certification.

        C.       ECW Failed To Satisfy Required Certification Criteria

        26.       During all relevant times, ECW released software without adequate testing and

overly relied on customers to identify bugs and other problems. Some bugs and problems – even

some identified as “critical” or “urgent” – persisted on ECW’s bug list for months and even

years. ECW lacked reliable version control, so problems addressed in one version of the

software or for one particular user could reappear in later versions or remain unaddressed for

other customers.

        27.       In 2016, ECW began addressing these issues by implementing new policies and

procedures, improving its documentation, and enhancing its training. ECW also engaged a third-

party consultant to assist it in assessing its processes and to evaluate ways in which it could

enhance its product.

        28.       Also in 2016, ECW issued a series of notices advising its customers of potential

problems arising during particular uses of its software and when certain workflows were utilized

by practitioners, including that in specific workflows, its software was failing to accurately

display medical history on progress note.


                                                  7
 
          Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 8 of 21



       29.      As discussed below, because of these and other issues with its software, ECW

failed to satisfy certain certification requirements.

               1. ECW’s Software Failed to Satisfy Audit Log Requirements

       30.      Audit logs (or trails) track user activity in an EHR and provide a chronology of a

patient’s care. To meet certain certification criteria, EHR software must reliably and accurately

record user actions in an audit log. For example, the 2014 EHR certification requirements

mandate that certified products provide specific audit log capability and are based on the ASTM

E2147 standard, which dictates the data that must be captured; the federal government later

adopted this standard under its rule-making authority, see 45 C.F.R. § 170.299(c)(1). These

requirements help to ensure the integrity and reliability of EHR data.

       31.      ECW represented to its certification body that it satisfied this audit log

requirement and represented that “audit logs are also generated for all system

adds/deletes/changes to patient records.” However, ECW’s audit logs did not accurately record

user actions, and in certain cases, the audit logs misled users as to events conducted in the course

of a patient’s treatment.

       32.      For example, in 2009, ECW acknowledged that its audit logs incorrectly reflected

that diagnostic imaging orders were created, when they were only modified. ECW’s audit logs

also failed to consistently and reliably track deletions of certain medical orders. In July 2012,

ECW acknowledged that its audit logs did not accurately record diagnostic imaging orders; by

June 2013, ECW knew that its access logs were not showing the names of diagnostic imaging

orders or the details of what was ordered.

               2. ECW’s Software Failed to Reliably Record Diagnostic Imaging Orders

       33.      To be certified as a Complete EHR, a vendor’s software must provide


                                                   8
 
           Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 9 of 21



computerized provider order entry, which requires users to be able to electronically order and

record laboratory and radiology/imaging orders. This functionality must perform accurately and

reliably to meet the certification requirement.

       34.      In ECW’s EHR system, diagnostic imaging orders that were not “linked” to an

assessment could fail to display in certain sections of the EHR that providers may rely on to

place or follow up on such orders. Diagnostic imaging orders that were not linked to an

assessment may continue to be displayed in the progress note, yet not appear in these other

screens.

       35.      In certain scenarios, ECW’s software would represent deleted diagnostic imaging

orders as current by displaying the order in the progress note even after it had been deleted.

       36.      On Nov. 4, 2016, ECW notified its users in a Patient Safety Advisory as to

additional issues with its laboratory and radiology/imaging functionalities.

               3. ECW Settles Qui Tam Action with Federal Government

       37.     On May 31, 2017, the U.S. Department of Justice announced that ECW had

agreed to pay $155 Million and enter into a Corporate Integrity Agreement to settle the

Department of Justice’s claims under the False Claims Act and Anti-Kickback Statute. The

central allegation in the Department of Justice’s lawsuit was that ECW falsely obtained

certification for its EHR software when it concealed that its software did not comply with the

Meaningful Use program’s requirements for certification. U.S. ex rel. Delaney v. Eclinical

Works, Case No. 2:15-CV-00095-WKS (D.Vt. May 12, 2017). An Acting Assistant Attorney

General of the Justice Department’s Civil Division said at the time: “Every day, millions of

Americans rely on the accuracy of their electronic health records to record and transmit their

vital health information. This resolution is a testament to our deep commitment to public health


                                                  9
 
         Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 10 of 21



and our determination to hold accountable those whose conduct results in improper payments by

the federal government.” (See Office of Public Affairs, Department of Justice, May 31, 2017

(emphasis added).)

                             FACTS SPECIFIC TO PLAINTIFFS

                                            Stjepan Tot

        38.     Prior to his death from cancer, Stjepan Tot learned about ECW’s failure to

maintain the accuracy and integrity of his medical records.

        39.     Mr. Tot saw his primary care physician, who used the ECW software, from

December 17, 2007 through and inclusive of January 31, 2014. As to accuracy of his medical

records, Mr. Tot learned the following: First, his primary care physician’s Progress Notes

included inaccurate problems under the column “Active Problem List” (“Active PL”). Although

14 diagnoses were listed under the column Active PL for every single visit starting December 17,

2007 through September 23, 2013, they were not, in fact, diagnosed at each of those visits. And,

in the Progress Note of the very first visit of December 17, 2017, there are 14 “active problems”

listed in the Active Problem list which were neither “active” at that time nor “problems” at that

time. Therefore, his Progress Notes were not, and are not, accurate. These records therefore

showed false active problems. See 45 C.F.R. Part 170; “Eligible Professional Meaningful Use

Core Measure 3 of 13/Stage 1 (2014 Definition) Last updated May 2014” (defining “Problem

List” as “a list of current and active diagnoses as well as past diagnoses relevant to the current

care of the patient”).

        40.     Second, ECW’s Active PL did not have the ability to deactivate a problem. For

example, in the March 7, 2012 Progress Notes, “Inflammatory Polyarthrop Nec” first appears in

the Assessments column and is also in the Active PL. At the next visit of Sept. 12, 2012, it does

                                                 10
 
        Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 11 of 21



not show up under Assessments, but it nonetheless can be found in the Active PL for that date.

Therefore, this problem was not deactivated. See AHIMA Work Group, “Problem List Guidance

in the EHR,” Journal of AHIMA 82, no. 9 (Sept. 2011), at 52-58 (HER-S FM model guidelines

state that “The system SHALL provide the ability to deactivate a problem” and should “not auto-

populate problems to the problem list without clinician confirmation”).

       41.     Third, because ECW’s software did not reliably and accurately record user actions

(add/modify/delete notes in a Progress Note) in an Audit Log, all of ECW’s patient records have

been compromised. Upon information and belief, without an audit, the problems with ECW’s

software make it impossible to determine whether Mr. Tot’s – or anyone – else’s medical

records have been altered or modified and if so, by whom. See Walsh & Miaoulis, “Privacy and

Security Audits of Electronic Health Information (2014 update),” Journal of AHIMA 85, no. 3

(March 2014), at 54-59.

                                      Annette Monachelli

       42.     Following her death from a cerebral aneurism in February 2013, the Executor of

Annette Monachelli’s estate, her husband Randy Stern, learned about ECW’s failure to maintain

the accuracy and integrity of her medical records.

       43.     Ms. Monachelli saw her primary care physician, who used the ECW software, on

more than one occasion at or around Nov. 2012. As to accuracy of her medical records, Mr.

Stern learned the following: On one of her visits, Ms. Monachelli’s primary care physician

ordered a magnetic resonance angiogram (“MRA”) for her. Notwithstanding that order, no such

procedure was performed. According to her medical records, a Diagnostic Image (“DI”) entry

was available inside the Progress Note, and it indicated that the primary care physician had

placed the order. But the entry was not in the DI tab, indicating that the ECW software either


                                                11
 
         Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 12 of 21



dropped the order or failed to populate the appropriate screens through which orders are

communicated and tracked. Ms. Monachelli, because of this ECW software glitch, was not told

to obtain an MRA and she did not obtain an MRA. Had she obtained an MRA when it was

ordered, the unruptured brain aneurysm would have been diagnosed early enough so that it

would not have had time to rupture, and doctors would have been able to perform an

endovascular clipping or flow diverter and she would not have died from its rupture.

                               CLASS ACTION ALLEGATIONS

       44.      Plaintiffs and all members of the class (as defined below) had a reasonable

expectation that their EHRs be reliable and accurate. Because of ECW’s failure to comply with

the above federal rules and requirements as well as certain established industry standards, the

accuracy and integrity of Plaintiffs’ medical information like all members of the class have been

compromised.

       45.     ECW violated the following industry standards, among others: First, ASTM

International’s Standard Practice for Content and Structure of the Electronic Health Record states

that the problem list should contain, as per § 7.9 therein: “All past and existing diagnosis,

pathophysiological states, potentially abnormal physical signs and laboratory findings,

disabilities, and unusual conditions.”

       46.     Second, the International Organization for Standardization designated as a

standard, Health Level Seven International’s Electronic Health Record System Functional Model

(EHR-S FM), which provides additional guidance for EHR content and outlines the following

functional requirements related to problem lists: “(1) The system SHALL [capitalization in the

original] capture, display and report all active problems associated with the patient; (2) The

system SHALL [same] provide the ability to capture the onset date of a problem.” ECW’s


                                                 12
 
         Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 13 of 21



Problem list inaccurately displays problems not active on that date; and, ECW’s Problem list

does not capture the onset date of a problem. ECW’s version affected Mr. Tot’s medical records

as well as all putative plaintiffs whose health care providers used that version.

       47.      Third, as for ECW’s breach of the Stage 1 Meaningful Use incentive program’s

final rule, the following was a requirement for an EHR system: “Provide clinical summaries,

including problems to patients for each office visit.” (See American Recovery and Reinvestment

Act of 2009.)

       48.      Fourth, as for ECW’s breach, reporting requirements for the problem list for the

Stage 1 Meaningful Use requirements state the provider must “maintain an up to date problem

list of current and active diagnoses based on ICD-9-CM or SNOMED-CT.”

       49.      Fifth, 45 CFR 170.314 requires certified EHRs to “enable a user to electronically

record, change, and access” orders for “diagnostic imaging,” which ECW’s EHRs failed to do in

the case of Ms. Monachelli.

       50.      Plaintiffs bring this action, pursuant to Fed. R. Civ. P. 23(a), (b)(1), (b)(2) and

(b)(3), on behalf of a class of patients (the “Class”), consisting of all persons residing in the U.S.

whose healthcare providers used ECW software to record and store their medical records from

Jan. 17, 2007 to May 31, 2017 (the “Class Period”).

       51.      Excluded from the Class are ECW and its affiliates, parents, subsidiaries, current

or former employees, officers, directors, and agents at all relevant times. Also excluded are

governmental entities and any judge to whom this case is assigned, their judicial staff, and their

immediate families.

       52.      Plaintiffs reserve the right to amend the Class definition and to add sub-classes as

appropriate if discovery and further investigation reveal that the Class should be expanded,


                                                  13
 
         Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 14 of 21



otherwise divided into sub-classes, or modified in anyway.

       53.      Plaintiffs satisfy the numerosity, commonality, typicality, and adequacy

prerequisites for suing as a represented party pursuant to Fed. R. Civ. P. 23.

       54.      NUMEROSITY. Joinder of all members of the Class is impractical because

approximately 130,000 physicians nationwide used ECW’s software. Accordingly, millions of

U.S. residents whose medical records were recorded and stored by ECW during the Class Period

will be members of the Class.

       55.      COMMONALITY. There are questions of law and fact common to the Class

and these questions predominate over any questions affecting only individual class members,

including:

               A.      Whether ECW owed a fiduciary duty to the Class;

               B.      Whether ECW breached any such fiduciary duty to the Class;

               C.      Whether ECW committed a constructive fraud upon the Class by failing to

                       disclose to them that their EHRs have been compromised;

               D.      Whether ECW intentionally, recklessly or by way of gross negligence or

                       negligently developed, marketed and sold, or deployed as vendor software

                       that did not maintain the accuracy and reliability of the EHRs of the Class;

               E.      Whether ECW expressly warranted its software to the Class;

               F.      Whether ECW breached any such express warranty;

               G.      Whether ECW impliedly warranted its software to the Class; and

               H.      Whether ECW breached any such express warranty.

       56.      TYPICALITY. Plaintiffs’ claim is typical of the claims of the proposed Class

members. Plaintiffs and the members of the Class sustained the same or substantially the same


                                                14
 
          Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 15 of 21



injury arising out of the same wrongful conduct by ECW and their legal claims arise from the

same ECW practices, as alleged herein.

         57.    ADEQUACY. Plaintiffs will fairly and adequately pursue the interests of the

Class and protect those interests. Plaintiffs have no interest antagonistic to the members of the

Class. Plaintiffs have retained counsel who has experience in complex and class action

litigation.

         58.    Plaintiffs and their counsel are committed to vigorously prosecuting this action

on behalf of the Class. Neither Plaintiffs nor their counsel has conflicts with the interests of the

Class.

         59.    Plaintiffs additionally satisfy the requirements of maintaining a class under Fed.

R. Civ. P. 23(b)(1), 23(b)(2), and 23(b)(3). A class action is superior to all other means available

to adjudicate this controversy in a fair and efficient manner. Absent a class action, the members

of the Class would likely find the cost of litigating their claims prohibitively high and therefore

would have no effective remedy at law. Additionally, prosecution of separate actions by

individual members of the Class would create the risk of inconsistent or varying standards for the

parties and would not be in the interest of judicial economy.

                                     CLAIMS FOR RELIEF

                                             COUNT I
                         Breach of Fiduciary Duty/Constructive Fraud

         60.   Plaintiffs incorporate by reference the allegations alleged in paragraphs 1 through

59, above.

         61.    ECW is the leading cloud-based EHR vendor of software designed to hold

patients’ healthcare records for the Class. Upon information and belief, up to 90% of healthcare


                                                 15
 
         Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 16 of 21



providers choose to store their EHRs through ECW. ECW generates, stores and maintains the

EHRs for millions of patients. Those EHRs are designed to follow the patients from one

healthcare provider to the next and may also be transferred to other entities that require medical

information about members Class.

       62.     EHRs by their nature contain sensitive information about patients. EHRs also

contain information crucial to the effective healthcare of members of the Class. Members of the

Class have a reasonable expectation that their EHRs will be generated and maintained in such a

way that the accuracy and integrity of those records will not be compromised. While ECW

maintains a Patient Portal, allowing patients to access their EHRs, patients have little or no

effective ability to ensure that ECW maintained the accuracy and integrity of their EHRs. They

are therefore completely dependent on ECW to insure the accuracy and integrity of their EHRs.

       63.     Because of these special circumstances, where the Class had no choice but to

place their trust in ECW to generate and maintain their EHRs in a manner to ensure the accuracy

and integrity of those records, a fiduciary relationship arose, and ECW owes a duty to the Class

as a matter of public policy, to ensure the accuracy and integrity of EHR. Accordingly, ECW is

a fiduciary acting for the benefit of the Class.

       64.      ECW breached its fiduciary duty to Plaintiffs and other members of the Class by

failing to keep those records in a manner such that the accuracy and integrity of those records

would be maintained as described above. In addition, ECW breached its fiduciary duty to

Plaintiffs and other members of the Class, and therefore committed a constructive fraud upon

them, by failing to disclose to them via its Patient Portal or otherwise that its software

compromised their healthcare records and posed a serious risk to their safety.

       65.      Because of the above, Plaintiffs and the Class have been damaged in that no


                                                   16
 
        Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 17 of 21



member of the Class can rely on the accuracy and integrity of their healthcare records maintained

on ECW software during the Class Period.

       66.     Plaintiffs and the Class have suffered and will continue to suffer damages in an

amount that they have not presently calculated with complete certainty, such damage to include

the cost of investigation and remediation of compromised healthcare records.

                                           COUNT II
                                           Negligence
       67.     Plaintiffs incorporate by reference the allegations alleged in paragraphs 1 through

59, above.

       68.     ECW owed Plaintiffs and other members of the Class a duty to hold their

healthcare records in a manner that maintained the accuracy and integrity of those records.

       69.     In failing to keep those records in such a manner as previously alleged, ECW

acted intentionally, recklessly or by way of gross negligence or negligently.

       70.     As a result of the above, Plaintiffs and other members of the Class have been

damaged in that no member of the Class can rely on the accuracy or integrity of their healthcare

records maintained on ECW software during the Class Period.

       71.     Plaintiffs and the Class suffered and will continue to suffer damages in an amount

that they have not presently calculated with complete certainty, such damage to include the cost

of investigation and remediation of compromised healthcare records.

                                           COUNT III

                                 Breach of Express Warranty

       72.     Plaintiffs incorporate by reference the allegations alleged in paragraphs 1 through

59, above.

       73.     ECW represented and warranted to the healthcare providers for Plaintiffs and the

                                                17
 
         Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 18 of 21



Class that its products would meet the “Meaningful Use” certification criteria described above

and that ECW would update its software as necessary to ensure that it complied with the most

current federal or state requirements.

       74.     ECW breached these express warranties because their software did not meet the

“Meaningful Use” certification criteria and were not updated to comply with state and federal

law as alleged herein.

       75.     Healthcare providers for Plaintiffs and the Class served as Plaintiffs’ and the

Class’s agents for purposes of providing them medical services and Plaintiffs and the Class,

being patients, were persons whom ECW might reasonably have expected to be affected by the

patient record-keeping and management software it manufactured and sold.

       76.     Plaintiffs and the Class have been damaged because of ECW’s breach of express

warranty in that no member of the Class can rely on the accuracy and integrity of their medical

records maintained on ECW software during the Class Period.

       77.     Plaintiffs and the Class suffered and will continue to suffer damages in an amount

that they have not presently calculated with complete certainty, such damage to include the cost

of investigation, audit and remediation of compromised healthcare records.

                                            COUNT V

     Breach of Implied Warranty (Merchantability and Fitness for Intended Purpose)

       78.     Plaintiffs incorporate by reference the allegations alleged in paragraphs 1 through

59, above.

       79.     Plaintiffs’ and the Class’s healthcare professionals bought ECW’s medical record-

keeping and management software which was manufactured and sold by ECW.

       80.      Medical providers for Plaintiffs and the Class served as Plaintiffs’ and the Class’s


                                                18
 
           Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 19 of 21



agents for purposes of providing them medical services and Plaintiffs and the Class, being

patients, were persons whom ECW might reasonably have expected to be affected by the patient

medical record-keeping and management software it manufactured and sold.

       81.     ECW’s patient medical record-keeping and management software was not of the

same quality as those generally acceptable in the medical profession because, as alleged above,

their products did not meet the “Meaningful Use” certification criteria and were not updated to

comply with state and federal law as alleged herein.

       82.     ECW’s patient medical record-keeping and management software was not fit for

the ordinary purpose for which it was used, i.e. keeping and managing patient medical records.

       83.     Plaintiffs and the Class have been damaged as a result of ECW’s breach of

implied warranty of merchantability and fitness for intended purpose in that no member of the

Class can rely on the accuracy and integrity of their medical records maintained on ECW

software during the Class Period.

       84.     Plaintiffs and the Class suffered and will continue to suffer damages in an amount

that they have not presently calculated with complete certainty, such damage to include the cost

of investigation, audit and remediation of compromised healthcare records.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and the Class pray for relief and judgment against ECW as

follows:

       A.      For an order certifying the Class, appointing Plaintiffs and their counsel to

       represent the Class, and for notice to the Class to be paid by ECW;

       B.      Awarding declaratory, injunctive and other equitable relief as is necessary to

       protect the interests of Plaintiffs and the Class;


                                                 19
 
     Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 20 of 21



    C.     For actual or nominal damages suffered by Plaintiffs and the Class to include,

    among other things, the cost of investigation, audit and remediation of the Class’s

    healthcare records;

    D.     For punitive damages to the Plaintiffs and class members;

    E.     For Plaintiffs’ reasonable attorneys’ fees, if and as permitted by law;

    F.     For Plaintiffs’ costs incurred;

    G.     For pre-judgment and post-judgment interest at the maximum allowable rate on

           any amounts awarded; and

    H.     For such other and further relief as the Court deems just and proper.

                              DEMAND FOR JURY TRIAL

    Plaintiffs hereby demand a jury trial on all issues so triable.




                                              20
 
     Case 1:18-cv-11658-RGS Document 1 Filed 08/06/18 Page 21 of 21



    Dated: Boston, MA
           August 6, 2018
                                 Respectfully submitted,

                                 PLAINTIFFS AND THE CLASS


                                 By:_/s/ Patrick M. Groulx________
                                 Patrick M. Groulx

                                 ISENBERG GROULX, LLC
                                 Patrick M Groulx
                                 Email: patrick@i-gllc.com
                                 368 West Broadway, Suite 2
                                 Boston, MA 02127
                                 Telephone: (857) 880-7889
                                 Fax: (617) 249-1981
                                 BBO No.: 673394

                                 DIEFENBACH, PLLC
                                 Gordon Price Diefenbach
                                 (pro hac vice to be submitted)
                                 Email: gordon@diefenbachlaw.com
                                 888 Seventh Avenue, 6th Floor
                                 New York, NY 10106
                                 Telephone: (212) 981-2233
                                 Fax: (646) 867-1150

                                 LAW OFFICES OF
                                 STEVEN E. ARMSTRONG, PLLC
                                 Steven E. Armstrong (pro hac vice to be submitted)
                                 Email: sarmstrong@armstrongpllc.com
                                 26 Broadway, 17th Floor
                                 New York, NY 10004
                                 Tel: (646) 708-3658
                                 Fax: (212) 344-7285

                                 PHILLIPS, ERLEWINE, GIVEN & CARLIN LLP
                                 David M. Given (pro hac vice to be submitted)
                                 Email: dmg@phillaw.com
                                 39 Mesa Street, Suite 201
                                 San Francisco, CA 94129
                                 Tel: (415) 398-0900
                                 Fax: (415) 398-0911



                                   21
 
